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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISON

ALEX MCNAMARA, individually
and on behalf of all others
similarly situated,

      Plaintiff,

v.                                                 CASE NO.:

BRENNTAG MID-SOUTH, INC.,

    Defendant.
______________________/

                          CLASS ACTION COMPLAINT

      Plaintiff, Alex McNamara (“Plaintiff”), files this Class Action complaint

against Defendant, Brenntag Mid-South, Inc., (“Defendant” or “Brenntag”),

alleging that Defendant failed to provide her and the putative class adequate notice

of their right to continued health care coverage under the Consolidated Omnibus

Budget Reconciliation Act of 1985 (“COBRA”).

      1.    Defendant, the plan sponsor of the Health Plan (“Plan”), has

repeatedly violated ERISA by failing to provide participants and beneficiaries in

the Plan with adequate notice, as prescribed by COBRA, of their right to continue

their health insurance coverage following an occurrence of a “qualifying event” as

defined by the statute.

      2.    Defendant’s COBRA notice, attached as Exhibit “A,” violates 29 C.F.R.

§ 2590.606–4(b)(4)(viii) because it fails to include a termination date for COBRA
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coverage if elected. The notice also violates COBRA because it fails to sufficiently

identify the Plan Administrator.

      3.     Because Defendant’s COBRA notice omits several critical information

items, it collectively violates 29 C.F.R. § 2590.606–4(b)(4), which requires the

plan administrator of a group-health plan to provide a COBRA notice “written in a

manner calculated to be understood by the average plan participant.” Without

information on when COBRA coverage ends, and who is the Plan Administrator,

the notice is not written in a manner calculated to be understood by the average

plan participant.

      4.     As a result of these violations, which threaten Class Members’ ability

to maintain their health coverage, Plaintiff seeks statutory penalties, injunctive

relief, attorneys’ fees, costs and expenses, and other appropriate relief as set forth

herein and provided by law.

                           JURISDICTION AND VENUE

      5.     Venue is proper in the United States Court for the Middle District of

Florida, because the events giving rise to these claims arose in this district.

      6.     Plaintiff is a Florida resident, resides in this district and was a

participant in the Plan as a dependent prior to the termination of her parent’s

employment with Defendant, a qualifying event within the meaning of 29 U.S.C. §

1163(2).

      7.     Defendant is a foreign corporation with its headquarters in

Henderson, Kentucky, and employed more than 20 employees who were members

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of the Plan in each year from 2013 to 2019. Defendant is the Plan sponsor within

the meaning of 29 U.S.C. §1002(16)(B), and the administrator of the Plan within

the meaning of 29 U.S.C. § 1002(16)(A). The Plan provides medical benefits to

employees and their beneficiaries, and is an employee welfare benefit plan within

the meaning of 29 U.S.C. § 1002(1) and a group health plan within the meaning of

29 U.S.C. § 1167(1).

                          FACTUAL ALLEGATIONS

                        COBRA Notice Requirements

      8.     The COBRA amendments to ERISA included certain provisions

relating to continuation of health coverage upon termination of employment or

another “qualifying event” as defined by the statute.

      9.     Among other things, COBRA requires the plan sponsor of each group

health plan normally employing more than 20 employees on a typical business day

during the preceding year to provide “each qualified beneficiary who would lose

coverage under the plan as a result of a qualifying event … to elect, within the

election period, continuation coverage under the plan.”       29 U.S.C. § 1161.

(Emphasis added).

      10.    Notice is of enormous importance.          The COBRA notification

requirement exists because employees are not presumed to know they have a

federally protected right to continue healthcare coverage subsequent to a

qualifying event.




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      11.     COBRA further requires the administrator of such a group health plan

to provide notice to any qualified beneficiary of their continuation of coverage

rights under COBRA upon the occurrence of a qualifying event. 29 U.S.C. §

1166(a)(4). This notice must be “[i]n accordance with the regulations prescribed

by the Secretary” of Labor. 29 U.S.C. § 1166(a).

      12.     The relevant regulations prescribed by the Secretary of Labor

concerning notice of continuation of coverage rights are set forth in 29 C.F.R. §

2590.606-4 as follows:

            (4) The notice required by this paragraph (b) shall be written
            in a manner calculated to be understood by the average plan
            participant and shall contain the following information:
                  (i) The name of the plan under which continuation
                  coverage is available; and the name, address and
                  telephone number of the party responsible under the
                  plan for the administration of continuation coverage
                  benefits;

                  (ii) Identification of the qualifying event;

                  (iii) Identification, by status or name, of the qualified
                  beneficiaries who are recognized by the plan as being
                  entitled to elect continuation coverage with respect to the
                  qualifying event, and the date on which coverage under
                  the plan will terminate (or has terminated) unless
                  continuation coverage is elected;

                  (iv) A statement that each individual who is a qualified
                  beneficiary with respect to the qualifying event has an
                  independent right to elect continuation coverage, that a
                  covered employee or a qualified beneficiary who is the
                  spouse of the covered employee (or was the spouse of the
                  covered employee on the day before the qualifying event
                  occurred) may elect continuation coverage on behalf of
                  all other qualified beneficiaries with respect to the


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             qualifying event, and that a parent or legal guardian may
             elect continuation coverage on behalf of a minor child;

             (v) An explanation of the plan's procedures for electing
             continuation coverage, including an explanation of the
             time period during which the election must be made, and
             the date by which the election must be made;

             (vi) An explanation of the consequences of failing to elect
             or waiving continuation coverage, including an
             explanation that a qualified beneficiary's decision
             whether to elect continuation coverage will affect the
             future rights of qualified beneficiaries to portability of
             group health coverage, guaranteed access to individual
             health coverage, and special enrollment under part 7 of
             title I of the Act, with a reference to where a qualified
             beneficiary may obtain additional information about
             such rights; and a description of the plan's procedures
             for revoking a waiver of the right to continuation
             coverage before the date by which the election must be
             made;

             (vii) A description of the continuation coverage that will
             be made available under the plan, if elected, including
             the date on which such coverage will commence, either
             by providing a description of the coverage or by reference
             to the plan's summary plan description;

             (viii) An explanation of the maximum period for which
             continuation coverage will be available under the plan, if
             elected; an explanation of the continuation coverage
             termination date; and an explanation of any events that
             might cause continuation coverage to be terminated
             earlier than the end of the maximum period;

             (ix) A description of the circumstances (if any) under
             which the maximum period of continuation coverage
             may be extended due either to the occurrence of a second
             qualifying event or a determination by the Social Security
             Administration, under title II or XVI of the Social
             Security Act (42 U.S.C. 401 et seq. or 1381 et seq.) (SSA),
             that the qualified beneficiary is disabled, and the length
             of any such extension;

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               (x) In the case of a notice that offers continuation
               coverage with a maximum duration of less than 36
               months, a description of the plan's requirements
               regarding the responsibility of qualified beneficiaries to
               provide notice of a second qualifying event and notice of
               a disability determination under the SSA, along with a
               description of the plan's procedures for providing such
               notices, including the times within which such notices
               must be provided and the consequences of failing to
               provide such notices. The notice shall also explain the
               responsibility of qualified beneficiaries to provide notice
               that a disabled qualified beneficiary has subsequently
               been determined to no longer be disabled;

               (xi) A description of the amount, if any, that each
               qualified beneficiary will be required to pay for
               continuation coverage;

               (xii) A description of the due dates for payments, the
               qualified beneficiaries' right to pay on a monthly basis,
               the grace periods for payment, the address to which
               payments should be sent, and the consequences of
               delayed payment and non-payment;

               (xiii) An explanation of the importance of keeping the
               administrator informed of the current addresses of all
               participants or beneficiaries under the plan who are or
               may become qualified beneficiaries; and

               (xiv) A statement that the notice does not fully describe
               continuation coverage or other rights under the plan,
               and that more complete information regarding such
               rights is available in the plan's summary plan description
               or from the plan administrator.

      13.   To facilitate compliance with these notice obligations, the United

States Department of Labor (“DOL”) has issued a Model COBRA Continuation

Coverage Election Notice (“Model Notice”), which is included in the Appendix to

29 C.F.R. § 2590.606-4. A copy of this Model Notice is attached hereto as Exhibit

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“B.” The DOL website states that the DOL “will consider use of the model election

notice, appropriately completed, good faith compliance with the election notice

content requirements of COBRA.”

      14.    In the event that a plan administrator declines to use the Model Notice

and fails to meet the notice requirements of 29 U.S.C. § 1166 and 29 C.F.R. §

2590.606-4, the administrator is subject to statutory penalties of up to $110.00 per

participant or beneficiary per day from the date of such failure. 29 U.S.C. §

1132(c)(1). Additionally, the Court may order such other relief as it deems proper,

including but not limited to injunctive relief pursuant to 29 U.S.C. § 1132(a)(3) and

payment of attorneys’ fees and expenses pursuant to 29 U.S.C. § 1132(g)(1). Such

is the case here.

      15.    Here, Defendant failed to use the Model Notice and failed to meet the

notice requirements of 29 U.S.C. § 1166 and 29 C.F.R. § 2590.606-4, as set forth

below.

 Defendant’s Notice Is Inadequate and Fails to Comply with COBRA

      16.    Defendant did not use the Model Notice to notify plan participants of

their right to continuation coverage.

      17.    Rather than use the Model Notice, Defendant deliberately authored

and disseminated a notice which omitted critical information required by law. The

information Defendant omitted from its notice is information that is included in

the Model Notice.




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      18.       The evidence will show Defendant used its [deficient] Notice (See

Exhibit A – Notice) to discourage participants from enrolling in continuation

coverage.

      19.       Defendant’s Notice violates several key COBRA requirements,

specifically:

                a.    The Notice violates 29 C.F.R. § 2590.606-4(b)(4)(viii)
                      because it fails to provide an explanation of the
                      continuation coverage termination date;
                b.    The Notice violates 29 C.F.R. § 2590.606-4(b)(4)(i)
                      because it fails to provide the name, address and
                      telephone number of the party responsible under the
                      plan for administration of continuation coverage
                      benefits; and, finally,

                c.    The Notice violates 29 C.F.R. § 2590.606-4(b)(4)
                      because Defendant has failed to provide a notice written
                      in a manner calculated to be understood by the average
                      plan participant.

      20.       The evidence will show Defendant’s standard practice during the time

period at issue in this lawsuit was to send the COBRA election notice attached as

Exhibit A first, then send additional COBRA election information only to those that

elected COBRA coverage (instead of to all individuals eligible for COBRA). This

second document contained the information omitted from the initial notice.

      21.       Defendant’s COBRA Notice confused Plaintiff’s parent, and resulted

in her inability to make an informed decision as to electing COBRA continuation

coverage.

      22.       As a result of the deficient notice, Plaintiff did not elect COBRA

continuation coverage.

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        23.   Defendant’s    deficient   COBRA      Notice   caused    Plaintiff   an

informational injury when Defendant failed to provide her parent with information

to which he was entitled to by statute, namely a compliant COBRA election notice

containing all information required by 29 C.F.R. § 2590.606-4(b)(4) and 29 U.S.C.

§ 1166(a). Through ERISA and then COBRA, Congress created a right—the right

to receive the required COBRA election notice—and an injury—not receiving a

proper election notice with information required by 29 C.F.R. § 2590.606-4(b)(4)

and 29 U.S.C. § 1166(a). Defendant injured Plaintiff and the class members he

represents by failing to provide the information required by COBRA.

        24.   Besides the informational injury suffered, Plaintiff also suffered a

tangible injury in the form of economic loss, specifically the loss of health

insurance coverage for herself. Insurance coverage is an employer subsidized

benefit of employment of monetary value, the loss of which is a tangible injury.

        25.   Plaintiff also suffered a tangible economic loss, medical expenses were

incurred by due to her loss of medical insurance.

                            Plaintiff Alex McNamara

        26.   Plaintiff is the child and dependent of Thomas McNamara who was

employed by Defendant for nearly eleven years, during which time he obtained

medical insurance for herself and dependents through Defendant’s group health

plan.




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      27.    On or around June 2018 Plaintiff’s parent’s employment was

terminated. Thomas McNamara was not terminated for “gross misconduct” and

Plaintiff was therefore eligible for continuation coverage.

      28.    Plaintiff’s parent’s termination was a qualifying event (termination of

employment), which triggered Defendant’s COBRA obligations.

      29.    On or around June 26, 2018, Defendant mailed Plaintiff the

[deficient] COBRA notice (See Exhibit A – Notice).

      30.    The COBRA notice was not written in a manner calculated to be

understood by the average plan participant.

      31.    The COBRA notice did not provide Plaintiff or her parent with the

substantive information to which she was entitled pursuant to federal law.

      32.    The COBRA notice violated 29 C.F.R. § 2590.606-4(b)(4)(viii)

because it failed to provide an explanation of the continuation coverage

termination date, omitting it entirely. Thus, it was nearly impossible for Plaintiff‘s

parents or any other plan participant to calculate the coverage termination date.

      33.    The COBRA notice violated29 C.F.R. § 2590.606-4(b)(4)(xii) because

it failed to include information about how participants can lose COBRA coverage

before the [omitted] termination date.        For example, a participant can lose

coverage if they become eligible under another group health plan, become

Medicare eligible or do not make timely payments.

      34.    Plaintiff was not required to exhaust any administrative remedies

through Defendant prior to bringing suit because no such administrative remedies

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exist. Even if they did, any attempts to exhaust the administrative remedies would

have been futile.

            Violation of 29 C.F.R. § 2590.606-4(b)(4)(viii)
   Failure to provide an explanation of the continuation coverage
                           termination date

      35.    The governing statute requires Defendant to provide a COBRA

election notice that discloses “an explanation of the maximum period for which

continuation coverage will be available under the plan” and “an explanation of the

continuation coverage termination date.” 29 C.F.R. § 2590.606-4(b)(4)(viii).

      36.    This information not only informs Plaintiff of the length of coverage,

if elected, but also the specific date on which such coverage will terminate. This

information is very important for deciding whether to elect coverage.

      37.    Continuation   coverage    is   not   designed   to   be   permanent.

Traditionally, continuation coverage is used as a temporary solution until a

qualifying participant obtains new coverage under a different group health plan.

Thus, election notices must be sufficient to permit the discharged employee to

make an informed decision whether to elect coverage.

      38.    Plaintiff and her parents cannot truly make an informed decision

regarding continuation coverage without knowing the specific date when coverage

will end and when they will be uninsured.

      39.    Here Plaintiff and her parents were only provided with the length of

continuation coverage, but was never notified when the coverage, if elected, would

terminate.

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      40.    Even if Plaintiff or her parents had tried to use a calendar to determine

the termination date, using an 18-month window, she would not be able to

determine whether this monthly coverage would terminate at the beginning of the

18th month, the end of the 18th month or 18 months to the day of eligibility.

      41.    The statute requires these disclosures specifically to avoid this type of

confusion surrounding a matter as important as electing health insurance.

Furthermore, a fiduciary breaches its duties by materially misleading plan

participants, regardless of whether the fiduciary's statements or omissions were

made negligently or intentionally. Without the required disclosures, Defendant’s

notice does not permit Plaintiff to make an informed decision and is therefore

deficient.

               Violation of 29 C.F.R. § 2590.606-4(b)(4)(i)
                 Failure to Identify Plan Administrator

      42.    The COBRA notice provided to Plaintiff omitted important

information identifying the party responsible under the Plan for administration of

continuing coverage benefits. The generic phrase “Plan Administrator” is included

no less than ten (10) separate times throughout the notice, but not once is the Plan

Administrator actually identified.       Instead, the third-party administrator,

WageWorks, is identified and Brenntag is merely referred to as the “employer.”

Thus, Plaintiff was never informed who administers the continuation coverage.

      43.    Defendant was required to provide “in a manner calculated to be

understood by the average plan participant ... the name, address and telephone


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number of the party responsible under the plan for administration of continuation

coverage benefits.” 29 C.F.R. § 2590.606- 4(b)(4)(i). Defendant’s Notice failed to

comply with this fundamental requirement.

      44.   Defendant’s notice only identifies a third-party administrator,

WageWorks. A third-party administrator is different from the Plan Administrator.

Identifying the Plan Administrator is critical because the plan administrator bears

the burden of proving that adequate COBRA notification was given to the

employee.

              Violation of 29 C.F.R. § 2590.606-4(b)(4)
       Failure to Provide COBRA Notice Written in a Manner
   Calculated “To Be Understood By the Average Plan Participant”

      45.   The COBRA notice Plaintiff received from Defendant failed to fully

explain the procedures for electing coverage; omitted information regarding the

coverage end date; omitted information pertaining to the consequences of

delinquent or missed payments; and failed to identify the Plan Administrator.

Combined, Defendant’s omissions are a violation of 29 C.F.R. § 2590.606- 4(b)(4).

This particular section mandates employers provide notice of continuation

coverage written in a manner calculated “to be understood by the average plan

participant.” By omitting critical information, Defendant’s notice is not written in

a manner calculated “to be understood by the average plan participant.” 29 C.F.R.

§ 2590.606-4(b)(4)(v).




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                          CLASS ACTION ALLEGATIONS

      46.       Plaintiff brings this action as a class action pursuant to Rule 23

Fed.R.Civ.P. on behalf of the following persons:

                All participants and beneficiaries in the
                Defendant’s Health Plan who were sent a COBRA
                notice by Defendant during the applicable statute
                of limitations period as a result of a qualifying
                event, as determined by Defendant, who did not
                elect COBRA.

      47.       No administrative remedies exist as a prerequisite to Plaintiff’s claim

on behalf of the Putative Class. As such, any efforts related to exhausting such non-

existent remedies would be futile.

      48.       Numerosity:    The Class is so numerous that joinder of all Class

members is impracticable. On information and belief, hundreds or thousands of

individuals satisfy the definition of the Class.

      49.       Typicality: Plaintiff’s claims are typical of the Class. The COBRA

notice that

Defendant sent to Plaintiff was a form notice that was uniformly provided to all

Class members. As such, the COBRA notice that Plaintiff received was typical of

the COBRA notices that other Class Members received, and suffered from the same

deficiencies.

      50.       Adequacy: Plaintiff will fairly and adequately protect the interests of

the Class members; she has no interests antagonistic to the class, and has retained

counsel experienced in complex class action litigation.


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      51.    Commonality: Common questions of law and fact exist as to all

members of the

Class and predominate over any questions solely affecting individual members of

the Class, including but not limited to:

             a.    Whether the Plan is a group health plan within the meaning of
                   29 U.S.C. § 1167(1);

             b.    Whether Defendant’s COBRA notice complied with the
                   requirements of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-
                   4;

             c.    Whether statutory penalties should be imposed against
                   Defendant under 29 U.S.C. § 1132(c)(1) for failing to comply
                   with COBRA notice requirements, and if so, in what amount;

             d.    The appropriateness and proper form of any injunctive relief or
                   other equitable relief pursuant to 29 U.S.C. § 1132(a)(3); and

             e.    Whether (and the extent to which) other relief should be
                   granted based on Defendant’s failure to comply with COBRA
                   notice requirements.

      52.    Class Members do not have an interest in pursuing separate

individual actions against Defendant, as the amount of each Class Member’s

individual claims is relatively small compared to the expense and burden of

individual prosecution. Class certification will also obviate the need for unduly

duplicative litigation that might result in inconsistent judgments concerning

Defendant’s practices and the adequacy of its COBRA notice.               Moreover,

management of this action as a class action will not present any likely difficulties.

In the interests of justice and judicial efficiency, it would be desirable to

concentrate the litigation of all Class Members’ claims in a single action.

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      53.   Plaintiff intends to send notice to all Class Members. The names and

addresses of the Class Members are available from Defendant’s records, as well as

from Defendant’s third-party administrator, WageWorks.

                     CLASS CLAIM I FOR RELIEF
      Violation of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4

      54.   The Plan is a group health plan within the meaning of 29 U.S.C. §

1167(1).

      55.   Defendant is the sponsor and administrator of the Plan, and was

subject to the continuation of coverage and notice requirements of COBRA.

      56.   Plaintiff and the other members of the Class experienced a “qualifying

event” as defined by 29 U.S.C. § 1163, and Defendant was aware that they had

experienced such a qualifying event.

      57.   On account of such qualifying event, Defendant sent Plaintiff and the

Class Members a COBRA notice in the form attached hereto as Exhibit A.

      58.   The COBRA notice that Defendant sent to Plaintiff and other Class

Members violated 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4 for the reasons

set forth in Paragraphs 8-61 above (among other reasons).

      59.   These violations were material and willful.

      60.   Defendant knew that its notice was inconsistent with the Secretary of

Labor’s Model Notice and failed to comply with 29 U.S.C. § 1166(a) and 29 C.F.R.

§ 2590.606-4, but chose to use a non-compliant notice in deliberate or reckless

disregard of the rights of Plaintiff and other Class Members.


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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for

relief as follows:

             a.      Designating Plaintiff’s counsel as counsel for the Class;

             b.      Issuing proper notice to the Class at Defendant’s expense;

             c.      Declaring that the COBRA notice sent by Defendant to Plaintiffs
                     and other Class Members violated 29 U.S.C. § 1166(a) and 29
                     C.F.R. § 2590.606-4;

             d.      Awarding appropriate equitable relief pursuant to 29 U.S.C. §
                     1132(a)(3), including but not limited to an order enjoining
                     Defendant from continuing to use its defective COBRA notice
                     and requiring Defendant to send corrective notices;

             e.      Awarding statutory penalties to the Class pursuant to 29 U.S.C.
                     § 1132(c)(1) and 29 C.F.R. § 2575.502c-1 in the amount of
                     $110.00 per day for each Class Member who was sent a
                     defective COBRA notice by Defendant;

             f.      Awarding attorneys’ fees, costs and expenses to Plaintiffs’
                     counsel as provided by 29 U.S.C. § 1132(g)(1) and other
                     applicable law; and

             g.      Granting such other and further relief, in law or equity, as this
                     Court deems appropriate.




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Dated this 17th day of March, 2021.

                                      /s/ Brandon J. Hill
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